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                             UNITED STATES DISTRICT COURT
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                                     DISTRICT OF NEVADA
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 7   ANTONIO CASTANEDA,
                                                         Case No. 2:22-cv-01868-APG-NJK
 8         Plaintiff(s),
                                                                      ORDER
 9   v.
                                                                   [Docket No. 4]
10   J. TIMOTHY FATTIG, et al.,
11         Defendant(s).
12        Pending before the Court is Plaintiff’s motion to extend the deadline to file a completed
13 application to proceed in forma pauperis. Docket No. 4. For good cause shown, that motion is
14 GRANTED and the deadline to file a completed application to proceed in forma pauperis is
15 EXTENDED to January 22, 2023.
16        IT IS SO ORDERED.
17        Dated: December 2, 2022
18                                                           ______________________________
                                                             Nancy J. Koppe
19                                                           United States Magistrate Judge
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